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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

sTONE BREWING CO., LLC, ease No.: 3 :18-@\/-0033 1-BEN-JMA
Plaimiff,
ORDER GRANTING JOINT
v. MoTION TO CONTINUE HEARING
DATE ANI) BRIEFING sCHEDULE

MILLERCOORS LLC, and DOES 1

through 25, inclusive, [DO°' NO' 421

Defendants.

 

 

 

 

The Court has reviewed Plaintit`f Stone BreWing Co., LLC (“Stone”) and
Defendant l\/IillerCoors, LLC (“Miller”) (colleetively, the “Parties”) Joint Motion to
Continue Hearing and Related Brieflng Schedule for Plaintiff’ s Motion for Prelirninary
Injunction and Motion to Dismiss. The Court GRANTS the parties’ Joint Motion.

It is hereby ORDERED the Motion Hearing currently scheduled for August 13,
2018, is CONTINUED to Monday, September 3, 2018, at 10:30 a.m.

Defendant Miller’s Opposition to Stone’s Motion for Preliminary Injunction shall
be filed no later than July 30, 2018.

Plaintiff Stone’s Reply in Support of its Motion for Prelirninary lnjunetion shall be
filed no later than August 14, 2018.

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Defendant l\/liller’s Request for Leave to file an Opposition to Plaintiff’s Motion
for Prelirninary Injunction that exceeds the page lirnit bV no more than ten (10) pages is
GRANTED. Going forward, however, Defendants must comply With the Local Civil
Rules governing the length of briefs.

IT IS SO ORDERED.

DATED; July%io 1 s

 

 

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